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8                                 UNITED STATES DISTRICT COURT

 9                               CENTRAL DISTRICT OF CALIFORNIA

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11    DONNIE L. CANTRELL,                           Case No. 2:20-06296 GW (ADS)

12                                 Plaintiff,

13                                 v.               ORDER ACCEPTING UNITED STATES
                                                    MAGISTRATE JUDGE’S REPORT AND
14    A. RAMIREZ, et al.,                           RECOMMENDATION

15                                 Defendants.

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17           Pursuant to 28 U.S.C. § 636, the Court has reviewed Plaintiff Donnie L. Cantrell’s

18    Complaint, (Dkt. No. 1), Defendants’ Motion to Dismiss Plaintiff’s Complaint, (Dkt. No.

19    42), Plaintiff’s Opposition to Defendants[’] Motion to Dismiss, (Dkt. No. 46),

20    Defendants’ Reply in Support of Defendants’ Motion to Dismiss Plaintiff’s Complaint,

21    (Dkt. No. 48), and the Report and Recommendation of United States Magistrate Judge,

22    (Dkt. No. 51).

23           Finding no objections on file, IT IS HEREBY ORDERED:

24           1.        The Report and Recommendation, (Dkt. No. 51), is accepted;
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 1          2.    The Motion to Dismiss is granted, in part, and denied, in part, as follows:

 2                a. The Court denies, in part, Defendants’ Motion to Dismiss as to
                     Plaintiff’s Eighth Amendment excessive force claim against all
 3                   Defendants;

 4                b. The Court denies, in part, Defendants’ Motion to Dismiss as to
                     Plaintiff’s deliberate indifference claim against Defendant Wood;
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                  c. The Court grants, in part, Defendants’ Motion to Dismiss as to
 6                   Plaintiff’s deliberate indifference claim against Defendants Allison,
                     Hicks, Ramirez, and Rupp;
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                  d. The Court grants, in part, Defendants’ Motion to Dismiss Plaintiff’s
8                    official capacity claims against all the defendants; and

 9                e. The Court denies, in part, Defendants’ Motion to Dismiss as it relates
                     to their qualified immunity argument.
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            3.    Defendants are required to file an answer to Plaintiff’s remaining claims
11                by no later than 30 days after entry of this order.

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13    Dated: October 20, 2021                ______________________________
                                             THE HONORABLE GEORGE H. WU
14                                           United States District Judge

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